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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

 CHARTER COMMUNICATIONS, INC., and
 CHARTER COMMUNICATIONS OPERATING,                              Case No. 4:24-cv-00199
 LLC,
                               Plaintiffs,
 v.

 UBEE INTERACTIVE, INC.,
                       Defendant.

                                             COMPLAINT

       Plaintiffs Charter Communications, Inc. (“CCI”) and Charter Communications Operating,

LLC (“CCO”) (collectively, “Charter Plaintiffs”) by their attorneys, Thompson Coburn LLP and

Arnold & Porter Kaye Scholer LLP (“APKS”), as and for their Complaint against Defendant Ubee

Interactive, Inc. (“Ubee” or “Defendant”), allege as follows:

                                    NATURE OF THE ACTION

       1.      This action arises out of Defendant’s unjustified refusal to honor its contractual

obligation to indemnify, hold harmless, and defend the Charter Plaintiffs for liability and defense

costs resulting from patent infringement claims brought against CCI by Entropic Communications,

LLC (“Entropic”) involving the use of cable modems supplied by Ubee to CCO that the Charter

Plaintiffs deployed to offer internet services to their customers. Entropic sought damages from

CCI well in excess of $1 billion.

       2.      Pursuant to a Master Purchase Agreement between CCO and Ubee, effective as of

October 1, 2016 (the “Ubee MPA”), Ubee sold cable modems (containing Ubee software and

hardware components) to CCO that the Charter Plaintiffs used to provide internet services to their

customers.

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       3.        Under the Ubee MPA, Ubee agreed to indemnify, hold harmless, and defend the

Charter Indemnitees (as defined in the Ubee MPA) from and against any and all claims, damages,

losses, liabilities and expenses, including attorneys’ fees resulting from third party claims for

patent infringement brought against the Charter Indemnitees that involved the Charter Plaintiffs’

use or installation of goods supplied by Ubee.

       4.        On April 27, 2022, Entropic commenced an action against CCI, Spectrum

Advanced Services, LLC and Spectrum Management Holding Company, LLC in the U.S. District

Court for the Eastern District of Texas, Case No. 2:22-cv-00125 (the “Entropic -125 Litigation”)

seeking damages for alleged infringement of six patents related to certain functions performed by

certain accused cable modems and set-top boxes provided to CCO by suppliers, including cable

modems supplied to CCO by Ubee. On May 24, 2022, Entropic filed a first amended complaint

in the Entropic -125 Litigation. On January 10, 2023, Entropic further amended its complaint in

the Entropic -125 Litigation to drop Spectrum Advanced Services, LLC and Spectrum

Management Holding Company, LLC as defendants, leaving CCI as the sole defendant.

       5.        On June 1, 2022, the Charter Plaintiffs timely provided notice to Ubee of a third-

party claim for patent infringement related to products sold to CCO by Ubee pursuant to CCO’s

agreements with Ubee, including the Ubee MPA. The Charter Plaintiffs attached a copy of the

Amended Complaint in the Entropic -125 Litigation, and tendered the case to Ubee for defense

and indemnification. Ubee did not assume defense of the case and did not retain counsel to

represent CCI.

       6.        Where Ubee fails to assume the defense of indemnifiable litigation, the Charter

Plaintiffs are permitted to undertake the defense of the litigation and Ubee is obligated to reimburse




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the Charter Plaintiffs for the costs and expenses of that defense incurred by the Charter Plaintiffs,

as well as liabilities and losses relating to the third party claim.

        7.      When Ubee and the Charter Plaintiffs’ other suppliers failed to assume CCI’s

defense, Ubee and certain other equipment suppliers and the Charter Plaintiffs reached agreement:

(a) to retain APKS to represent CCI; (b) as to each equipment supplier’s provisional share of

defense costs in the Entropic -125 Litigation subject to adjustment if additional equipment by the

same or other suppliers was subsequently accused; (c) that those costs would be billed directly to

each supplier by APKS; and (d) that the Charter Plaintiffs would pre-pay the non-APKS expenses,

including fees from The Dacus Firm as Texas Counsel, and seek reimbursement from each supplier

quarterly for each supplier’s respective share of the expenses. Ubee agreed to pay 16.7% of CCI’s

defense costs (those billed directly by APKS and those billed quarterly by the Charter Plaintiffs)

because Ubee’s cable modems initially represented 16.7% of the total specifically accused

equipment.

        8.      In January 2023, prior to Ubee’s agreement to have the Charter Plaintiffs pre-pay

the non-APKS expenses and seek reimbursement for the vendors quarterly, APKS began sending

invoices to Ubee for costs from other third-party vendors. APKS subsequently ceased that practice

after the agreement was reached. Beginning in February 2023, APKS provided Ubee with monthly

invoices for legal fees that CCI incurred in connection with the Entropic -125 Litigation.

Beginning in April 2023, the Charter Plaintiffs provided Ubee with a quarterly invoice for the

remaining expenses that CCI incurred in connection with the Entropic -125 Litigation.

        9.      Despite its agreement to pay its share of defense costs, Ubee made no payments of

any invoices from APKS or the Charter Plaintiffs. Nor did Ubee respond to repeated requests

regarding the status of its payments for those invoices. In May 2023, Ubee confirmed that it was

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responsible for making such payments, but indicated that it did not then have the budget for making

such payments. In June 2023, Ubee sought to renegotiate its agreement to pay its share of defense

costs, which the Charter Plaintiffs refused to do.         Ubee ultimately rejected defense and

indemnification.

       10.     On February 10, 2023, Entropic filed another action against CCI in the U.S. District

Court for the Eastern District of Texas, Case No. 2:23-cv-052 (the “Entropic -052 Litigation”).

       11.     On April 19, 2023, Entropic filed an amended complaint in the Entropic -052

Litigation. In the Entropic -052 Litigation, Entropic asserted that CCI’s deployment of certain set-

top boxes infringed two Entropic patents: U.S. Patent Nos. 11,381,866 and 11,399,206, and that

these patents were continuations of U.S. Patent No. 9,210,362, which was at issue in the Entropic

-125 Litigation. Entropic further stated in its infringement contentions in the Entropic -052

Litigation that its claims cover both set-top boxes and cable modems.

       12.     On September 29, 2023, the Charter Plaintiffs provided written notice to Ubee of

the Entropic -052 Litigation, provided Ubee with a copy of the Amended Complaint and Entropic’s

infringement contentions, and tendered the case for defense and indemnification. Ubee has failed

to respond to the Charter Plaintiffs’ September 29, 2023 letter or retain counsel to defend the

Charter Plaintiffs, and has denied its defense and indemnification obligations for that case as well.

       13.     Ubee also repeatedly refused to participate in or contribute to any effort to settle

the cases with Entropic. Ubee twice rejected the Charter Plaintiffs’ requests to contribute to the

settlement. On December 10, 2023, CCI and Entropic settled the Entropic -125 Litigation, the

Entropic -052 Litigation and two other litigations in the Eastern District of Texas, Case Nos. 2:23-

cv-00050-JRG and 2:23-cv-00051-JRG (collectively, the “Entropic MoCA Litigations”).




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       14.     On December 29, 2023, the Charter Plaintiffs provided a written demand for Ubee

to pay its share of the defense costs and settlement amount in the Entropic -125 Litigation and the

Entropic -052 Litigation. The Charter Plaintiffs informed Ubee of the methodology used to

determine Ubee’s share of the defense costs and the settlement amount. The Charter Plaintiffs

demanded $10.33 million for Ubee’s share of the settlement amount for the Entropic -125

Litigation, $1.98 million for Ubee’s share of the settlement amount for the Entropic -052

Litigation, and Ubee’s share of the defense costs to date at that time—$1,705,469 for Ubee’s share

of the defense costs in the Entropic -125 Litigation and $53,879.75 for Ubee’s share of the defense

costs in the Entropic -052 Litigation

       15.     For the Entropic -125 Litigation, Ubee’s share of the settlement amount is $10.33

million and Ubee’s share of defense costs to date is now $2,189,330.16. For the Entropic -052

Litigation, Ubee’s share of the settlement amount is $1.98 million and Ubee’s share of the defense

costs to date is now $92,842.42.

       16.     Ubee is in material breach of its obligations under the Ubee MPA to indemnify the

Charter Plaintiffs for Ubee’s share of the defense costs incurred in and settlement of the Entropic

-125 Litigation and the Entropic -052 Litigation.

                                         THE PARTIES

       17.     Plaintiff Charter Communications, Inc. is a corporation organized and existing

under the laws of Delaware, with its principal place of business in Connecticut. CCI is a Charter

Affiliate and a Charter Indemnitee as those terms are defined under the Ubee MPA.

       18.     Plaintiff Charter Communications Operating, LLC is a Delaware limited liability

company with its principal place of business in Missouri. CCO is a party to the Ubee MPA. The

sole member of Charter Communications Operating, LLC is CCO Holdings, LLC.

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        a. CCO Holdings, LLC is a Delaware limited liability company with its principal

           place of business in Missouri. The sole member of CCO Holdings, LLC is CCH I

           Holdings, LLC.

        b. CCH I Holdings, LLC is a Delaware limited liability company with its principal

           place of business in Missouri. The sole member of CCH I Holdings, LLC is CCHC,

           LLC.

        c. CCHC, LLC is a Delaware limited liability company with its principal place of

           business in Missouri. The sole member of CCHC, LLC is Charter Communications

           Holding Company, LLC.

        d. Charter Communications Holding Company, LLC is a Delaware limited liability

           company with its principal place of business in Missouri. The sole member of

           Charter Communications Holding Company, LLC is Spectrum Management

           Holding Company, LLC.

        e. Spectrum Management Holding Company, LLC is a Delaware limited liability

           company with its principal place of business in Missouri. The sole member of

           Spectrum Management Holding Company, LLC is Charter Communications

           Holdings, LLC.

        f. Charter Communications Holdings, LLC is a Delaware limited liability company

           with its principal place of business in Missouri.     The members of Charter

           Communications Holdings, LLC are: CCH Holding Company, LLC; Insight

           Blocker LLC; CCH II, LLC; and Advance/Newhouse Partnership.




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             g. CCH Holding Company, LLC is a Delaware limited liability company with its

                principal place of business in Missouri. The sole member of CCH Holding

                Company LLC is CCI.

             h. Insight Blocker LLC is a Delaware limited liability company with its principal

                place of business in Missouri. The sole member of Insight Blocker LLC is CCI.

             i. CCH II, LLC is a Delaware limited liability company with its principal place of

                business in Missouri. The sole member of CCH II, LLC is CCI.

             j. On information and belief, Advance/Newhouse Partnership is a New York general

                partnership with two partners. The two partners are A/NP Holdings Sub LLC and

                A/NPC Holdings LLC, both of which are Delaware limited liability companies.

             k. On information and belief, the sole member of A/NP Holdings Sub LLC is A/NPC

                Holdings LLC. The members of A/NPC Holdings LLC are Newhouse Cable

                Holdings LLC and Advance Communications Company LLC, both of which are

                New York limited liability companies. The sole member of Newhouse Cable

                Holdings LLC is Newhouse Broadcasting Corporation, a New York corporation

                with its principal place of business in New York. The sole member of Advance

                Communications Company LLC is Advance Local Holdings Corp., a Delaware

                corporation with its principal place of business in New York.

       19.       Defendant Ubee Interactive, Inc. is a California corporation with its principal place

of business in Colorado.       Ubee is a telecommunications equipment supplier that supplies

equipment, software, and other services to telecommunications carriers and network service

providers to facilitate, among other services, internet services.




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                                JURISDICTION AND VENUE

       20.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332 based on diversity of citizenship because the plaintiffs and defendant are citizens of

different states and the amount in controversy exceeds the sum or value of $75,000.

       21.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and provisions of the

Ubee MPA. The disputes between the Charter Plaintiffs and Ubee arise under the Ubee MPA.

                                 FACTUAL BACKGROUND

A.     The Charter Plaintiffs’ Master Purchase Agreement with Ubee

       22.     Effective as of October 1, 2016, CCO and Ubee entered into the Ubee MPA

pursuant to which CCO purchased cable modems and other equipment from Ubee. CCI signed

the Ubee MPA as the manager of CCO.

       23.     Under the Ubee MPA, Ubee agreed to indemnify, hold harmless, and defend the

Charter Indemnitees (as defined in the Ubee MPA) from and against any and all claims, damages,

losses, liabilities and expenses, including attorneys’ fees resulting from third party claims for

patent infringement brought against the Charter Indemnitees that involved the Charter Plaintiffs’

use or installation of goods supplied by Ubee.

       24.     CCO, the Charter Affiliates, and CCO’s and the Charter Affiliates’ respective

present and former officers, directors, shareholders, managers, members, partners, employees and

agents are Charter Indemnitees under the Ubee MPA. CCI is a Charter Affiliate and Charter

Indemnitee under the Ubee MPA.

       25.     The Ubee MPA requires the Charter Plaintiffs to notify Ubee of a third party claim

for patent infringement after the Charter Plaintiffs have knowledge of the claim and, upon

notification, requires Ubee to assume defense of the claim. If Ubee fails to assume defense of the

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claim, the Charter Plaintiffs may undertake defense of the claim and Ubee is responsible for paying

the Charter Plaintiffs’ defense costs and any liabilities and losses resulting from the third party

claim.

B.       Entropic v. Charter -125 Litigation

         26.    On April 27, 2022, Entropic commenced the Entropic -125 Litigation against CCI.

In the Entropic -125 Litigation, Entropic alleges that CCI has and continues to lease, sell, and/or

distribute certain cable modems, including the “Arris AB6183 cable modem, Spectrum PC20 (e.g.,

the Spectrum EU2251) cable modem, and products that operate in a similar manner (the ‘Accused

Cable Modem Products’)” and that CCI’s use of the Accused Cable Modem Products infringes

three patents held by Entropic, U.S. Patent Nos. 8,223,775, 8,284,690, and 10,135,682. Ubee

supplied the cable modems to CCI identified as the Spectrum EU2251.

         27.    On May 24, 2022, Entropic filed a first amended complaint in the Entropic -125

Litigation. On January 10, 2023, Entropic further amended its complaint to drop Spectrum

Advanced Services, LLC and Spectrum Management Holding Company, LLC as defendants,

leaving CCI as the sole defendant.

C.       The Charter Plaintiffs Notify Ubee of the Entropic -125 Litigation

         28.    On June 1, 2022, the Charter Plaintiffs provided notice to Ubee of a third-party

claim for patent infringement related to products sold to CCO by Ubee pursuant to CCO’s

agreements with Ubee, including the Ubee MPA. The Charter Plaintiffs attached a copy of the

Amended Complaint in the Entropic -125 Litigation and tendered the case to Ubee for defense and

indemnification.

         29.    In the June 1, 2022 letter, the Charter Plaintiffs noted that because a number of

suppliers, including Ubee, were implicated by the patent infringement claims, it would be more

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efficient and cost effective to have the suppliers retain a single law firm to defend the litigation.

Alternatively, the Charter Plaintiffs offered to retain a single law firm to represent CCI with respect

to all of the accused equipment and have the suppliers contribute to the defense costs at their

proportionate share of the accused equipment. The Charter Plaintiffs further stated that Ubee could

assume the defense and indemnification of its products. Finally, the Charter Plaintiffs stated that

if they did not hear from Ubee, they would nonetheless seek indemnification from Ubee for any

defense costs and the cost of any settlement or judgment.

       30.     Ubee did not assume the defense of the Entropic -125 Litigation and did not retain

counsel to represent CCI. Where, as here, Ubee failed to assume the defense, the Charter Plaintiffs

were permitted to undertake the defense and Ubee became responsible for defense costs and

expenses incurred by CCI in defending the claim as well as liabilities and losses resulting from

the claim.

D.     Ubee and the Other Equipment Suppliers Each Agree to Pay A Share of CCI’s
       Defense Costs in the Entropic -125 Litigation

       31.     When Ubee and the Charter Plaintiffs’ other suppliers failed to assume CCI’s

defense in the Entropic -125 Litigation, Ubee and certain other equipment suppliers and the Charter

Plaintiffs reached agreement: (a) to retain APKS to represent CCI; (b) as to each equipment

supplier’s provisional share of defense costs in the Entropic -125 Litigation subject to adjustment

if additional equipment by the same or other suppliers was subsequently accused; (c) that those

costs would be billed directly to each supplier by APKS; and (d) that the Charter Plaintiffs would

pre-pay the non-APKS expenses, including fees from The Dacus Firm as Texas Counsel, and seek

reimbursement from each supplier quarterly for each supplier’s respective share of the expenses.

       32.     Ubee agreed to pay 16.7% of CCI’s defense costs because Ubee’s cable modems

initially represented 16.7% of the total accused and deployed devices (cable modems and set-top
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boxes) identified in the First Amended Complaint. In making that calculation, the Charter

Plaintiffs noted that additional equipment by the same or other suppliers could be accused in the

future, at which time adjustments to the current supplier percentages could be warranted.

       33.     In August 2022, the Charter Plaintiffs provided Ubee with updates on the Entropic

-125 Litigation, including that the Court had entered a Scheduling Order, a Protective Order, and

a discovery order, and that deadlines had been set for discovery, preliminary claim construction,

the Markman hearing and trial. The Charter Plaintiffs also notified Ubee that they were working

on a request for a proposal to retain a law firm to represent CCI in the litigation.

       34.     In November 2022, the Charter Plaintiffs informed Ubee and other equipment

suppliers that they had completed the process to select counsel for the litigation and that they

recommended moving forward with APKS to represent CCI in the Entropic -125 Litigation along

with The Dacus Firm as Texas counsel. The Charter Plaintiffs also provided a proposed budget

for APKS legal fees (excluding costs and expenses) through a trial of the case to Ubee and certain

other equipment suppliers. Under the Charter Plaintiffs’ agreement with APKS, the Charter

Plaintiffs are responsible to pay APKS’s legal fees and costs.

       35.     Ubee agreed to the retention of APKS to represent CCI in the Entropic -125

Litigation and to pay Ubee’s provisional allocation of the Charter Plaintiffs’ defense costs.

       36.     Subsequently, Entropic provided a more precise identification of the allegedly

infringing equipment in its expert reports. Based on that more precise identification, Ubee

supplied approximately 50% of the allegedly infringing cable modems that the Charter Plaintiffs

deployed. Those allegedly infringing cable modems constitute approximately 25% of the total

number of accused and deployed cable modems and set-top boxes.




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       37.     In January 2023, prior to Ubee’s agreement to have the Charter Plaintiffs pre-pay

the non-APKS expenses and seek reimbursement for the vendors quarterly, APKS began sending

invoices to Ubee for costs from other third-party vendors. APKS subsequently ceased that practice

after the agreement was reached and, therefore, non-APKS expenses were billed quarterly by the

Charter Plaintiffs. Beginning in February 2023, APKS provided Ubee with monthly invoices for

APKS legal fees and costs not billed directly to the Charter Plaintiffs incurred in connection with

the defense of CCI in the Entropic -125 Litigation. Beginning in April 2023, the Charter Plaintiffs

provided Ubee with quarterly invoices for additional defense expenses that CCI incurred in

connection with the Entropic -125 Litigation. Ubee made no payments of any invoices that it was

presented with by APKS or the Charter Plaintiffs, nor did it respond to emails requesting the status

of payment.

       38.     On numerous occasions during the Spring of 2023, the Charter Plaintiffs raised with

Ubee its failure to pay its share of defense expenses in the Entropic -125 Litigation. In May 2023,

Ubee confirmed that it was responsible for making such payments, but indicated that it did not

then have the budget for making such payments. In June 2023, Ubee sought to renegotiate its

agreement to pay its share of defense costs in the Entropic -125 Litigation, which the Charter

Plaintiffs refused to do, and Ubee ultimately expressly stated its position that it did not owe the

Charter Plaintiffs defense and indemnification with respect to the Entropic -125 Litigation.

       39.     In July 2023, Entropic subpoenaed Ubee for documents and Ubee produced

documents in the Entropic -125 Litigation. Despite Ubee’s refusal to pay its share of defense costs,

the Charter Plaintiffs continued to keep Ubee apprised of important developments in the Entropic

-125 Litigation. Specifically, the Charter Plaintiffs provided Ubee with, among other things, the

complete briefing on the claim construction, the pleadings relating to invalidity and infringement

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contentions, and redacted expert reports. The Charter Plaintiffs also continued to include Ubee in

calls and offered to provide Ubee with any additional information relating to the Entropic -125

Litigation.

E.     Entropic v. Charter -052 Litigation

       40.     On February 10, 2023, Entropic filed the Entropic -052 Litigation against CCI. On

April 19, 2023, Entropic filed an amended complaint in the Entropic -052 Litigation. In the

Entropic -052 Litigation, Entropic asserted that CCI’s deployment of certain set-top boxes

infringed two Entropic patents: U.S. Patent Nos. 11,381,866 and 11,399,206, and that these patents

were continuations of U.S. Patent No. 9,210,362, which was at issue in the Entropic -125

Litigation. Entropic also made clear in its infringement contentions in the Entropic -052 Litigation

that it intends to read the claims on both set-top boxes and cable modems.

F.     The Charter Plaintiffs Notify Ubee of the Entropic -052 Litigation

       41.      On September 29, 2023, the Charter Plaintiffs gave written notice to Ubee of the

Entropic -052 Litigation, provided Ubee with a copy of the Amended Complaint and Entropic’s

infringement contentions, and tendered the case to Ubee for defense and indemnification. The

infringement contentions identified Accused Cable Modem Products, including Ubee’s

“E31U2V1, EU2251, and EU4251” cable modems of infringing Entropic’s asserted patents.

       42.     In the September 29, 2023 notice, the Charter Plaintiffs noted that, as in the

Entropic -125 Litigation, due to the number of implicated suppliers, it was the Charter Plaintiffs’

experience that it is more efficient and cost effective to have the suppliers retain a single law firm

to defend the litigation with respect to all of the accused equipment and to have the suppliers

contribute to the defense costs at their proportionate share of the accused equipment. The Charter

Plaintiffs further noted that as both set-top boxes and cable modems were accused of infringement,

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the Charter Plaintiffs believed it was appropriate to allocate 50% of the defense costs to the

manufacturers of the Charter Plaintiffs’ accused cable modems and 50% of the defense costs to

the manufacturers of the Charter Plaintiffs’ accused set-top boxes.

       43.     As previously communicated to Ubee in the Entropic -125 Litigation, Ubee

supplied 50% of the cable modems and approximately 25% of the total number of accused and

deployed cable modems and set-top boxes. Accordingly, the Charter Plaintiffs requested that Ubee

pay 25% of the defense costs of the Entropic -052 Litigation.

       44.     Finally, the September 29, 2023 letter stated that the Charter Plaintiffs looked

forward to working together with Ubee to effectively defend the case and that if the Charter

Plaintiffs did not receive a response from Ubee, they reserved all of their rights, including the right

to seek reimbursement from Ubee for any defense costs and the cost of any settlement or judgment.

       45.     Ubee failed to respond to the Charter Plaintiffs’ September 29, 2023 letter or

otherwise agree to provide the Charter Plaintiffs with defense and indemnification with respect to

the Entropic -052 Litigation.

       46.     On October 31, 2023, Entropic filed a Second Amended Complaint in the Entropic

-052 Litigation that asserted that newly-issued U.S. Patent No. 11,785,275 was also a continuation

of U.S. Patent No. 9,210,362, which was at issue in the Entropic -125 Litigation. The Second

Amended Complaint accuses various devices including Ubee’s “E31U2V1, EU2251, and

EU4251” cable modems of infringing Entropic’s asserted patents.

G.     The Charter Plaintiffs Settle the Litigations With Entropic

       47.     The Charter Plaintiffs engaged in settlement discussions with Entropic and

conveyed to Ubee Entropic’s offer of settlement.

       48.     Ubee twice rejected the Charter Plaintiffs’ requests to contribute to the settlement.

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On November 17, 2023, Ubee stated that it “was unable to commit to any contribution” because

“(1) Ubee does not feel comfortable about a proposal involving four cases when Ubee’s products

are not accused in two of the cases; and (2) the asserted claims across the four actions simply do

not justify the proposed allocation of the entire settlement amount among hardware vendors only

excluding Charter itself and CMTS suppliers.” On December 4, 2023, Ubee, along with other

suppliers, wrote to the Charter Plaintiffs to “collectively deny Charter’s request for contribution to

Entropic’s” settlement offer.

       49.     On December 10, 2023, CCI settled the Entropic -125 Litigation, the Entropic -052

Litigation and the Entropic MoCA Litigations.

       50.     On December 29, 2023, the Charter Plaintiffs provided a written demand for

payment for Ubee’s share of the defense costs and settlement amount in the Entropic -125

Litigation and the Entropic -052 Litigation.       The Charter Plaintiffs informed Ubee of the

methodology used to determine Ubee’s share of the defense costs and the settlement amount. The

Charter Plaintiffs demanded $10.33 million for Ubee’s share of the settlement amount for the

Entropic -125 Litigation, $1.98 million for Ubee’s share of the settlement amount for the Entropic

-052 Litigation, and Ubee’s share of the defense costs to date at that time—$1,705,469 for Ubee’s

share of the defense costs in the Entropic -125 Litigation and $53,879.75 for Ubee’s share of the

defense costs in the Entropic -052 Litigation.

       51.     For the Entropic -125 Litigation, Ubee’s share of the settlement amount is $10.33

million and Ubee’s share of defense costs to date is now $2,189,330.16. For the Entropic -052

Litigation, Ubee’s share of the settlement amount is $1.98 million and Ubee’s share of the defense

costs to date is now $92,842.42.

       52.     Ubee has not made any payment of defense costs or the settlement amount in the

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Entropic -125 Litigation or the Entropic -052 Litigation and is in material breach of its obligations

under the Ubee MPA.

                               COUNT I – Breach of Contract
                      (Indemnification Related to Entropic -125 Litigation)

        53.    Plaintiffs repeat and reallege paragraphs 1 through 52 as if fully set forth herein.

        54.    The Charter Plaintiffs and Ubee entered into the Ubee MPA.

        55.    The Ubee MPA is an enforceable agreement between the Charter Plaintiffs and

Ubee.

        56.    At all relevant times, the Charter Plaintiffs have fully performed all the conditions,

covenants, and promises required by the Ubee MPA.

        57.    Pursuant to the Ubee MPA, Ubee sold cable modems to CCO that were used by the

Charter Plaintiffs to provide internet services to their customers.

        58.    Charter Communications, Inc. is a Charter Affiliate and Charter Indemnitee under

the Ubee MPA.

        59.    On April 27, 2022, Entropic commenced the Entropic -125 Litigation against CCI,

alleging that CCI has and continues to lease, sell, and/or distribute certain cable modems, including

the “Arris AB6183 cable modem, Spectrum PC20 (e.g., the Spectrum EU2251) cable modem, and

products that operate in a similar manner (the ‘Accused Cable Modem Products’)” and that CCI’s

use of the Accused Cable Modem Products infringes three patents held by Entropic. Ubee supplied

the cable modems to the Charter Plaintiffs identified as the Spectrum EU2251.

        60.    The Charter Plaintiffs provided notice of the Entropic -125 Litigation to Ubee on

June 1, 2022 and tendered the case for defense and indemnification. Ubee did not assume the

defense of the Entropic -125 Litigation or retain counsel to represent CCI.



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       61.     Because Ubee failed to assume CCI’s defense, the Charter Plaintiffs undertook the

defense and Ubee is required under the Ubee MPA to reimburse the Charter Plaintiffs for defense

costs and any settlement amount.

       62.     Additionally, when Ubee and the Charter Plaintiffs’ other suppliers failed to assume

CCI’s defense of the Entropic -125 Litigation, each agreed to pay for its respective share of the

Charter Plaintiffs’ defense costs based on the supplier’s respective share of the specifically accused

equipment. The Charter Plaintiffs calculated Ubee’s share based on the percentage of allegedly

infringing equipment identified in paragraph 11 of the First Amended Complaint that Ubee

supplied as compared to the total number of allegedly infringing cable modems and set-top boxes

that the Charter Plaintiffs deployed. Ubee supplied 16.7% of the total accused and deployed

devices (cable modems and set-top boxes) identified in the First Amended Complaint in the

Entropic -125 Litigation.

       63.     In making that calculation, the Charter Plaintiffs noted that additional equipment

by the same or other suppliers could be accused in the future, at which time adjustments to the

current suppliers percentages could be warranted. Subsequently, Entropic provided a more precise

identification of the allegedly infringing equipment in its expert reports.           Based on that

information, Ubee supplied approximately 50% of the allegedly infringing cable modems that the

Charter Plaintiffs deployed. Those allegedly infringing cable modems constitute approximately

25% of the total number of accused and deployed cable modems and set-top boxes.

       64.     In January 2023, prior to Ubee’s agreement to have the Charter Plaintiffs pre-pay

the non-APKS expenses and seek reimbursement for the vendors quarterly, APKS began sending

invoices to Ubee for costs from other third-party vendors. APKS subsequently ceased that practice

after the agreement was reached and, therefore, non-APKS expenses were billed quarterly by the

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Charter Plaintiffs. Beginning in February 2023, APKS provided Ubee with monthly invoices for

APKS legal fees and costs not billed directly to the Charter Plaintiffs incurred in connection with

the defense of CCI in the Entropic -125 Litigation. Beginning in April 2023, the Charter Plaintiffs

provided Ubee with quarterly invoices for additional defense expenses that CCI incurred in

connection with the Entropic -125 Litigation. Ubee made no payments of any invoices that it was

presented with by APKS or the Charter Plaintiffs, nor did it respond to emails requesting the status

of payment.

        65.     Ubee has refused to pay any of the invoiced amounts for defense costs that the

Charter Plaintiffs incurred in defending the Entropic -125 Litigation.

        66.     Ubee also repeatedly refused to participate in or contribute to any effort to settle

the cases with Entropic. Ubee twice rejected the Charter Plaintiffs’ requests to contribute to the

settlement.

        67.     On December 10, 2023, the Charter Plaintiffs and Entropic settled the Entropic

-125 Litigation, together with the Entropic -052 Litigation and the Entropic MoCA Litigations.

        68.     On December 29, 2023, the Charter Plaintiffs provided a written demand for

payment for Ubee’s share of the defense costs and settlement amount in the Entropic -125

Litigation, together with the Entropic -052 Litigation. The Charter Plaintiffs informed Ubee of the

methodology used to determine Ubee’s share of the defense costs and the settlement amount for

those litigations.

        69.     For the Entropic -125 Litigation, Ubee’s share of the settlement amount is $10.33

million and Ubee’s share of defense costs to date is $2,189,330.16.

        70.     Ubee has refused to pay its share of the defense costs and settlement of the Entropic

-125 Litigation and is in material breach of its obligations under the Ubee MPA.

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        71.    The Charter Plaintiffs suffered damages as a result of Ubee’s material breaches.

The amount that Ubee owes or will owe in connection with the Entropic -125 Litigation, including

liability for its share of the settlement and for defense costs, exceeds $75,000.

                              COUNT II – Breach of Contract
                      (Indemnification Related to Entropic -052 Litigation)

        72.    Plaintiffs repeat and reallege paragraphs 1 through 71 as if fully set forth herein.

        73.    The Charter Plaintiffs and Ubee entered into the Ubee MPA.

        74.    The Ubee MPA is an enforceable agreement between the Charter Plaintiffs and

Ubee.

        75.    At all relevant times, the Charter Plaintiffs have fully performed all the conditions,

covenants, and promises required by the Ubee MPA.

        76.    Pursuant to the Ubee MPA, Ubee sold cable modems to CCO that were used by the

Charter Plaintiffs to provide internet services to their customers.

        77.    On February 10, 2023, Entropic commenced the Entropic -052 Litigation against

CCI, asserting that the Charter Plaintiffs’ deployment of certain set-top boxes infringed two

Entropic patents: U.S. Patent Nos. 11,381,866 and 11,399,206, and that these patents were

continuations of U.S. Patent No. 9,210,362, which was at issue in the Entropic -125 Litigation.

Entropic also made clear in its infringement contentions in the Entropic -052 Litigation that it

intends to read the claims on both set-top boxes and cable modems. The infringement contentions

identified Accused Cable Modem Products, including Ubee’s “E31U2V1, EU2251, and EU4251”

cable modems of infringing Entropic’s asserted patents.

        78.    On October 31, 2023, Entropic filed a Second Amended Complaint in the Entropic

-052 Litigation that asserted that newly-issued U.S. Patent No. 11,785,275 was also a continuation

of U.S. Patent No. 9,210,362, which was at issue in the Entropic -125 Litigation. The Second
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Amended Complaint accuses various devices including Ubee’s “E31U2V1, EU2251, and

EU4251” cable modems of infringing Entropic’s asserted patents.

       79.     Charter Communications, Inc. is a Charter Affiliate and Charter Indemnitee under

the Ubee MPA.

       80.     The Charter Plaintiffs provided notice of the Entropic -052 Litigation to Ubee on

September 29, 2023 and tendered the case for defense and indemnification. Ubee did not assume

the defense of the Entropic -052 Litigation or retain counsel to represent CCI.

       81.     Because Ubee failed to assume CCI’s defense, the Charter Plaintiffs undertook the

defense of the case and Ubee is required to reimburse the Charter Plaintiffs for defense costs and

any settlement amount.

       82.     Ubee is responsible for payment of 25% of the defense costs in the Entropic -052

Litigation.

       83.     Ubee has failed to respond to the Charter Plaintiffs’ requests for defense and

indemnification and has denied its defense and indemnification obligations.

       84.     Ubee also repeatedly refused to participate in or contribute to any effort to settle

the cases with Entropic. Ubee twice rejected the Charter Plaintiffs’ requests to contribute to the

settlement.

       85.     On December 10, 2023, the Charter Plaintiffs and Entropic settled the Entropic

-052 Litigation, together with the Entropic -125 Litigation and the Entropic MoCA Litigations.

       86.     On December 29, 2023, the Charter Plaintiffs provided a written demand for

payment for Ubee’s share of the defense costs and settlement amount in the Entropic -052

Litigation, together with the Entropic -125 Litigation. The Charter Plaintiffs informed Ubee of the

methodology used to determine Ubee’s share of the defense costs and the settlement amount.

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       87.       For the Entropic -052 Litigation, Ubee’s share of the settlement amount is $1.98

million and Ubee’s share of the defense costs to date is $92,842.42.

       88.       Ubee has refused to pay its share of defense costs or the settlement of the Entropic

-052 Litigation and is in material breach of its obligations under the Ubee MPA.

       89.       The Charter Plaintiffs suffered damages as a result of Ubee’s material breaches.

The amount that Ubee owes or will owe in connection with the Entropic -052 Litigation, including

liability for its share of the settlement and for defense costs, exceeds $75,000.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that the Court issue judgment for Plaintiffs

and against Defendant as follows:

             a) On their first claim for relief, awarding Plaintiffs such damages as are allowed by

law and determined to have been sustained by them as a result of Defendant’s material breaches

of its obligations under the Ubee MPA to pay its share of the defense costs and settlement of the

Entropic -125 Litigation;

             b) On their second claim for relief, awarding Plaintiffs such damages as are allowed

by law and determined to have been sustained by them as a result of Defendant’s material breaches

of its obligations under the Ubee MPA to pay its share of the defense costs and settlement of the

Entropic -052 Litigation; and

             c) Granting Plaintiffs such other, further, and different relief as it finds just, necessary,

and proper under the circumstances.




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Dated: St. Louis, Missouri                    Respectfully submitted,
       February 7, 2024
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